929 F.2d 693Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Ronald MYERS, Plaintiff-Appellant,v.The CITY OF NORTH CHARLESTON, D.L. Hester, Detective, T.Cummings, Patrolman, Sam's Wholesale Club, PhilBeeler, Mark Lewis, John Holley,Defendants-Appellees.
    No. 91-7516.
    United States Court of Appeals, Fourth Circuit.
    Submitted March 4, 1991.Decided March 22, 1991.
    
      Appeal from the United States District Court for the District of South Carolina, at Charleston.  Charles E. Simons, Jr., Senior District Judge.  (CA-90-876-2-16)
      Ronald Myers, appellant pro se.
      James Elliott Gonzales, Gonzales &amp; Gonzales, North Charleston, S.C., James Albert Stuckey, Jr., Stuckey &amp; Kobrovsky, Charleston, S.C., for appellees.
      D.S.C.
      AFFIRMED.
      Before WIDENER and K.K. HALL, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Ronald Myers appeals the district court's order dismissing this 42 U.S.C. Sec. 1983 action.  Appellant's action was referred to a magistrate judge pursuant to 28 U.S.C. Sec. 636(b)(1)(B).  The magistrate judge recommended that relief be denied and advised appellant that the failure to file timely objections to this recommendation could waive appellate review of a district court order based upon the recommendation.  Despite this warning, appellant failed to object to the magistrate judge's recommendation.
    
    
      2
      This Court has held that the timely filing of objections to a magistrate judge's recommendation is necessary to preserve appellate review of the substance of that recommendation where the parties have been warned that failure to object will waive appellate review.    Wright v. Collins, 766 F.2d 841, 846 (4th Cir.1985) (quoting Carr v. Hutto, 737 F.2d 433, 434 (4th Cir.1984), cert. denied, 474 U.S. 1019 (1985)).    See generally United States v. Schronce, 727 F.2d 91 (4th Cir.), cert. denied, 467 U.S. 1208 (1984).  Appellant has waived appellate review by failing to file objections after receiving proper notice.  We accordingly affirm the judgment of the district court.  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      3
      AFFIRMED.
    
    